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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                                GREENVILLE DIVISION


UNITED STATES OF AMERICA

              vs                                          CR NO. 6:19-239

JOSEPH P. HIPP



                                         PLEA

       The defendant, ,IOSEfH P. HIPP. having withdrawn his plea of Not Guilty, pleads

GUILTY to Count 1 of the Information.




                                                   (Signed) Defe

Greenville, South Carolina
December ·'l o • 2021
